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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-225 (DLF)
                 v.                            :
                                               :
TRENISS JEWELL EVANS, III,                     :
                                               :
                        Defendant.             :


                                 STATEMENT OF OFFENSE

         Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Treniss Jewell Evans, III (“Evans”), with the concurrence of his attorney, agree and stipulate to

the below factual basis for the defendant’s guilty plea—that is, if this case were to proceed to

trial, the parties stipulate that the United States could prove the below facts beyond a reasonable

doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

         1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

         2.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

         3.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States


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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the




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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                   Evans’ Participation in the January 6, 2021, Capitol Riot

       8.      Evans traveled from Canyon Lake, Texas to the District of Columbia on or about

January 5, 2021 in order to attend the “Stop the Steal” rally as well as a planned Second

Amendment demonstration.

       9.      On the morning of January 6, 2021, Evans attended the “Stop the Steal” rally. He

then walked toward the U.S. Capitol building. Evans was wearing a bright yellow knit cap, olive

green jacket, blue jeans, and a camouflage backpack. Evans was carrying a blue megaphone.

While outside the Capitol building, Evans used his megaphone to address other rioters, stating: “I

don’t support looting, I don’t support violence, I support a peaceful protest to put them on notice

that we the people demand justice.”


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       10.     At approximately 3:00 p.m., Evans entered a corridor in the Senate Wing of the

U.S. Capitol building by stepping through a broken window. The glass panes of the window had

been smashed open by other rioters before Evans arrived, and broken glass or other debris was

visible on the inside sill of the window. A high-pitched, continuous alarm could be heard.

Inside and to the left of the broken window through which Evans entered, a line of U.S. Capitol

Police officers stood, blocking off one direction of the corridor. The police officers were

wearing full uniforms, to include marked helmets or caps, with police badges, duty belts, and

official insignia clearly displayed. Most of the police officers were wearing riot helmets with

clear plastic face shields down.

       11.     Once inside, Evans turned back to face the broken window where other rioters

were visible outside. Two other rioters inside the building addressed those outside to invite them

to “come in.” Evans then raised his megaphone to his mouth, and said, “Bring ‘em in.”

       12.     Evans marched through a corridor of the U.S. Capitol building. Evans used his

megaphone to address other rioters, stating, “We want justice,” as well as “Back the blue.”

Evans also used his megaphone to lead other rioters in the Pledge of Allegiance and the Star

Spangled Banner. At approximately 3:11 p.m., Evans used his megaphone to address other

rioters inside the Crypt of the Capitol.

       13.     Evans entered a Congressional conference room. Evans was told by other rioters

inside that the conference room belonged to Speaker Pelosi. Evans took a shot of Fireball

whiskey inside the room.

       14.     Evans exited the U.S. Capitol building after approximately 20 minutes.




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                                     Elements of the Offense

       15.     Evans knowingly and voluntarily admits to all the elements of Entering and

Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1).

Specifically, Evans admits that he knowingly entered and remained in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting, without lawful authority to do so.



                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar No. 481052


                                                  By: /s/ Christopher B. Brown
                                                     Christopher B. Brown
                                                     Assistant United States Attorney
                                                     D.C. Bar No. 1008763
                                                     United States Attorney’s Office
                                                     555 Fourth Street, N.W.
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 252-7153
                                                     Email: Christopher.Brown6@usdoj.gov




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                           DEFENDANT’S ACKNOWLEDGMENT

       I, Treniss Jewell Evans, III, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

     1-18-22
Date:__________________              ______________________________
                                     Treniss Evans (Jan 18, 2022 13:51 CST)

                                     Treniss Jewell Evans, III
                                     Defendant


                            ATTORNEY’S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.



Date: 1/18/2022                      ________________________________
                                     Robbie L. Ward
                                     Attorney for Defendant




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